                      IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION
                              CASE NO. 3:24-MC-00048

 IN RE: REQUEST FOR JUDICIAL
 ASSISTANCE FROM THE NATIONAL
 COURT OF FIRST INSTANCE IN CIVIL
 MATTERS NUMBER 41 IN BUENOS
 AIRES, ARGENTINA IN THE MATTER
 OF ELSA GNIECIAK


   DECLARATION OF ASSISTANT UNITED STATES ATTORNEY GILL P. BECK

       I, Gill P. Beck, pursuant to 28 U.S.C. § 1746, declare as follows:

       1.       I am an Assistant United States Attorney in the Office of the United States Attorney

for the Western District of North Carolina, counsel for the United States of America. I make this

declaration upon information and belief based upon the attached exhibits and communications with

personnel in the United States Department of Justice, to which a Letter of Request has been

transmitted for execution. I make this declaration in support of the Government’s request, pursuant

to 28 U.S.C. § 1782(a), for an Order appointing me Commissioner for the purpose of obtaining

financial account information from Wells Fargo Bank.

       2.       In connection with a judicial proceeding in the National Court of First Instance in

Civil Matters Number 41 in Buenos Aires, Argentina (“Argentine Court”), captioned Matter of

Elsa Gnieciak, Foreign Reference Number 753/2022, the Court issued a Letter of Request seeking

information from Wells Fargo Bank. True and correct copies of correspondence received from the

Department of Justice and the Letter of Request received are attached as Exhibits 1 and 2,

respectively.

       3.       The specific information requested by the Argentine Court is reflected in a

subpoena addressed to Wells Fargo Bank, which the United States intends to serve (in substantially




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similar format) upon my appointment as Commissioner. A copy of the proposed subpoena is

attached as Exhibit 3.

       4.      In order to assist the Argentine Court in obtaining the requested information, I

respectfully request that this Court enter the proposed Order attached to the Application appointing

me Commissioner.

       No previous Application for the relief sought herein has been made.

       I declare under penalty of perjury that the foregoing is true and correct.

Respectfully submitted, this 15th day of April, 2024.


                                              DENA J. KING
                                              UNITED STATES ATTORNEY

                                              s/Gill P. Beck
                                              GILL P. BECK
                                              ASSISTANT UNITED STATES ATTORNEY
                                              N.C. State Bar No. 13175
                                              Room 233, U.S. Courthouse
                                              100 Otis Street
                                              Asheville, North Carolina 28801
                                              Phone: (828) 271-4661
                                              Fax: (828) 271-4327
                                              Email: Gill.Beck@usdoj.gov




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                Exhibit 1
                    To
                Gill Beck
               Declaration




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                                                      U.S. Department of Justice
                                                      Civil Division
                                                      Office of International Judicial Assistance
KMStanford
______________________________________________________________________________
U.S. Central Authority
Benjamin Franklin Station
P.O. Box 14360
Washington, DC 20044
+1 (202) 514-6700
OIJA@usdoj.gov
                                                       December 29, 2023

BY EMAIL
Gill P. Beck
Assistant United States Attorney
United States Attorney’s Office
Western District of North Carolina
U.S. Courthouse, Room 233
100 Otis Street
Asheville, NC 28801

         Re: Request for International Judicial Assistance from the National Court of First
             Instance in Civil Matters No. 41 in Caba, Argentina in the Matter of Elsa Gnieciak,
             Ref No.: 753/2022
             DJ Reference Number: 189-44-24-31

Dear Mr. Beck:

        The Office of International Judicial Assistance, within the Civil Division, serves as the
U.S. Central Authority for the Hague Convention on the Taking of Evidence Abroad in Civil or
Commercial Matters (“HCCH 1970 Evidence Convention”). 28 C.F.R. § 0.49. Pursuant to that
Convention, we have received the above-captioned Letter of Request seeking evidence in a civil
matter pending in Argentina. We are referring this Request to you for handling. See United
States Attorney Manual, § 4-1.325. Within fifteen days, please provide us with contact
information for the individual assigned to handle this matter.

       In its Request, the Argentine Court requested we obtain evidence in the form of
documentation from Wells Fargo Bank, whose national subpoena processing office is located in
Charlotte, North Carolina. Specifically, the Request seeks information regarding the specified
account numbers any accounts held by Elsa Gnieciak. Please proceed directly with the § 1782
process as banks will not release customer information without a subpoena.

         Once the court order is granted, the subpoena should be sent to the following address:

                                         Wells Fargo Bank
                                     Subpoena Processing Dept.
                                          P.O. Box 1415
                                       Mail Code: D1111-016
                                        Charlotte, NC 28201




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        There are instructions and frequently asked questions for the execution of Letters of
Request on our website at: http://dojnet.doj.gov/civil/ofl/index.html. A list of national
subpoena processing offices can be found here:
http://dojnet.doj.gov/civil/ofl/documents/guidance/Financial%20Institution%20Subpoena%20Co
ntacts.pdf. We urge you to review all of these materials before executing this referral. The
records can be compelled by your office pursuant to 28 U.S.C. § 1782. If your office will incur
an expense for which you intend to seek reimbursement from the Requesting Authority,
you must inform our office before you incur the expense so we can seek assurance from the
Requesting Authority to proceed. Failure to do so may result in the Requesting Authority’s
refusal to reimburse your office for the expense.

        Article 9 of the HCCH 1970 Evidence Convention requires that requests for evidence be
executed “expeditiously.” Accordingly, we urge that your office handle this matter as quickly as
possible. Given the increasing number of evidence requests that United States litigants send
abroad pursuant to the HCCH 1970 Evidence Convention, often with short discovery deadlines,
expeditious handling of evidence requests by the United States may, as a matter of reciprocity,
encourage similar treatment by foreign authorities. We anticipate this Request can be completed
within ninety days. If additional time is needed to complete the Request, please provide us a
status report by the ninetieth day and every two weeks thereafter.

        After you have executed this Request, please return all documents sent with the Request
and any original documents obtained through the execution of this Request to us so that we may
return them to the foreign court. We would also appreciate receiving copies of any pleadings or
motions that have been filed by your office in this case.

       If you have any questions, please contact us at OIJA@usdoj.gov or 202-353-2148.

       Thank you in advance for your cooperation and assistance in this matter.

                                        Very truly yours,




                                   KRYSTA M. STANFORD
                                       Trial Attorney

Enclosures




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                Exhibit 2
                    To
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                 Exhibit 3
                     To
                 Gill Beck
                Declaration




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                        UNITED STATES DISTRICT COURT
                     WESTERN DISTRICT OF NORTH CAROLINA
                             ASHEVILLE DIVISION


 IN RE: REQUEST FOR JUDICIAL
 ASSISTANCE FROM THE NATIONAL
 COURT OF FIRST INSTANCE IN CIVIL
 MATTERS NUMBER 41 IN BUENOS
 AIRES, ARGENTINA IN THE MATTER                         Case No. _______________
 OF ELSA GNIECIAK
                                               /


                               COMMISSIONER’S SUBPOENA

To:     Wells Fargo Bank
        Subpoena Processing Dept.
        P.O. Box 1415
        Mail Code: D1111-016
        Charlotte, North Carolina 28201

        I, Gill P. Beck, an Assistant United States Attorney for the Western District of North

Carolina, acting under the authority of Title 28, United States Code, Section 1782, for the

purpose of rendering assistance to Argentina, command that you provide to me evidence for use

in a civil lawsuit in the National Court of First Instance in Civil Matters Number 41 in Buenos

Aires, Argentina, entitled Matter of Elsa Gnieciak, Foreign Reference Number 753/2022, said

evidence being:

               Please (i) confirm the existence of the below identified account, as
               well as any other accounts that may exist there held by the listed
               beneficiary with Wells Fargo Bank, Miami branch office, and (ii)
               provide a statement of the funds held in such accounts.

                      //FW121000248 WELLS FARGO BANK NA (Miami, FL)
                      FL33131, Swift Code: WFBIUS6S
                      Account No.
                      Beneficiary: Mrs. Elsa Gnieciak
                      ID No.




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                        Address:
                        Autonomous City of Buenos Aires (CABA), Argentine
                        Republic

         If you cannot produce a requested document (including, inter alia, because the document

has been lost or destroyed), please provide the facts you rely upon in support of your contention

that you cannot do so. To the extent a document is not produced because of an assertion of

privilege, please state the specific privilege relied upon. If you object to producing only part of a

requested document, please produce that portion of the document you do not object to producing

and indicate what portion you have withheld based on an assertion of privilege.

         Please produce the evidence by email to me at Gill.Beck@usdoj.gov or by mail at the

address set forth below no later than                          (date).

                                             Gill Beck
                                 Assistant United States Attorney
                                  U.S. Courthouse, Room 233
                                          100 Otis Street
                                 Asheville, North Carolina 28801

         Please note that if you anticipate any charges for these records, please contact me prior to

mailing so that we can confirm the charges and the availability of funds. See Exception to the

Right to Financial Privacy Act for International Judicial Assistance Requests Memorandum

(enclosed).

         For failure to provide said evidence, you may be deemed guilty of contempt and liable to

penalties under the law. The recipient of the attached subpoena may, for good cause shown,

oppose the giving of evidence, or the circumstances thereof, by motion timely filed with the

Court.




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Dated this       day of ________________, 2024.




                                         Gill P. Beck, Commissioner
                                         Assistant United States Attorney
                                         North Carolina State Bar No. 13175
                                         United States Attorney’s Office
                                         Western District of North Carolina
                                         U.S. Courthouse, Room 233
                                         100 Otis Street
                                         Asheville, North Carolina 28801
                                         Tel: (828) 259-0645
                                         Fax: (828) 271-4327
                                         Gill.Beck@usdoj.gov




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               Re:    Exception to the Right to Financial Privacy Act for International
                      Judicial Assistance Requests

Dear Records Department:

        The Right to Financial Privacy Act (RFPA) does not prevent the execution of
international judicial assistance requests for bank records in civil and commercial matters as the
exception outlined in 12 U.S.C. § 3413(d) applies to such requests. The exception provides in
relevant part:

               (d) Disclosure pursuant to Federal statute or rule promulgated
               thereunder: Nothing in this chapter shall authorize the withholding
               of financial records or information required to be reported in
               accordance with any Federal statute or rule promulgated
               thereunder.

12 U.S.C. § 3413(d) (emphasis added).

        The statute which requires the production of these records is 28 U.S.C. § 1782(a). The
statute allows district courts to compel the production of evidence from domestic persons or
entities in support of foreign litigation. The order may be made pursuant to a request from a
foreign or international tribunal and may direct that the documents be produced before a person
appointed by the court (such an Assistant United States Attorney).

       Courts have adjudicated that international judicial assistance requests made
pursuant to § 1782 fall under the exception provided in § 3413(d) because “. . . § 1782 is a
federal statute which required that [the bank] disclose the requested financial
information.” Young v. Chemical Bank, N.A., 1988 WL 130929, at *5 (S.D.N.Y. 1988). See also
Young v. U.S. Dept. of Justice, 882 F.2d 633, 639 (2d Cir. 1989); In re Letter of Request for
Judicial Assistance from the Tribunal Civil de Port-Au-Prince, Republic of Haiti, 669 F. Supp.
403, 407 (S.D. Fla. 1987), In re Letters of Request from the Supreme Court of Hong Kong, 821
F. Supp. 204, 211 (S.D.N.Y. 1993).

        As the enclosed Commissioner’s Subpoena was issued pursuant to § 1782, and Courts
have held that requests made pursuant to § 1782 fall under the RFPA exception in § 3413(d), the
RFPA does not prevent the execution of this request. Additionally, as the RFPA does not apply,
banks cannot rely on the RFPA reimbursement provision as a basis for payment by the United
States to a custodian who produces records in response to a foreign request. See also
Oppenheimer Fund, Inc. v. Sanders, 437 U.S. 340, 358 (1978) (citing to Fed. R. Civ Pro. 26 (c))
(holding “responding party must bear the expense of complying with discovery requests,” though
the responding party may ask the court to exercise discretion to find requests unduly
burdensome) (superseded on other grounds with 2015 amendments to the Federal Rules of Civil
Procedure).




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